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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA                                 JS-6
                                      CIVIL MINUTES – GENERAL

 Case No.         SA CV 21-01280-DOC-(ADSx)                           Date       November 16, 2021

 Title            Amber Walker v. University Professional and Technical Employees
                  Communications Workers America Local 9119, et al.



 Present: The Honorable           DAVID O. CARTER, UNITED STATES DISTRICT JUDGE
                Karlen Dubon                          None Reported                         __________
                Deputy Clerk                     Court Reporter / Recorder                   Tape No.
             Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                      None Present                                       None Present


 PROCEEDINGS:               (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
                            VOLUNTARY DISMISSAL


       The Court, having been advised by the Plaintiff that this action has been resolved by a
Notice of Voluntary Dismissal [25], hereby orders this action dismissed with prejudice. The
Court hereby orders all proceedings in the case vacated and taken off calendar.

         Any pending Order to Show Cause is hereby discharged.

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                                                      Initials of Deputy Clerk    kdu




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